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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )           4:05CR3034
                                          )
             Plaintiff,                   )
                                          )
vs.                                       )           ORDER
                                          )
ALEJANDRO ROQUE RAMIREZ,                  )
                                          )
             Defendant.                   )

      IT IS ORDERED that a hearing on the defendant’s motion to determine
admissibility of expert testimony (filing 42) will be held on Friday, August 19, 2005,
from 11:15 a.m. to 12:00 noon. The defendant need not be present for the hearing.

      August 18, 2005.                        BY THE COURT:

                                              s/ Richard G. Kopf
                                              United States District Judge
